                                   UNITED STATES DISTRICT COURT
                                        DISTRICT OF ARIZONA



United States of America                                            CRIMINAL COMPLAINT
                                                                    CASE: 18-61030MP
vs.                                                                 Citizenship: GUATEMALA

Manuela Tipaz-Ac                                                    DOA: 05/14/2018

YOB: 1991

 
   I state that I am a Border Patrol Agent and that this complaint is based on the following facts:
That on or about May 14, 2018, near San Luis, Arizona in the District of Arizona, Defendant Manuela
TIPAZ-Ac, an alien, did knowingly and willfully enter the United States at a time or place other than as
designated by Immigration Officers of the United States of America, in violation of Title 8, United States
Code, Section 1325(a)(1) (Misdemeanor).


   The Defendant, a citizen of Guatemala and illegally within the United States, was encountered by Border
Patrol agents near San Luis, Arizona. The Defendant was questioned as to their citizenship and immigration
status. Agents determined that the Defendant is an undocumented National of Guatemala and illegally in the
United States. The Defendant was transported to the Border Patrol station for processing. During processing,
questioning and computer records checks the above criminal and immigration information was obtained as it
relates to this Defendant. The Defendant last entered the United States illegally without inspection near San
Luis, Arizona on May 14, 2018.


                                                        at Yuma, Arizona
File Date: 05/16/2018
                                                        Postponed

                                                         


 


                                                                   Rafael Flores, Border Patrol Agent


Sworn to before me and subscribed in my presence,

 


Date signed: 05/16/2018
                            

                                                                         James F. Metcalf
                                                                  United States Magistrate Judge

 
 
FBI Number: K04147LN0


 
 
Magistrate Information Sheet

Complaint: Manuela Tipaz-Ac

 
 
 
Criminal History: NONE

Immigration History: NONE
